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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                Distric of Columbia
                                                 __________    District of __________


                    US Dominion, Inc. et al                        )
                             Plaintiff                             )
                                v.                                 )      Case No. 1:21-cv-00445-CJN
                     My Pillow, Inc. et al.                        )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         My Pillow, Inc.                                                                                                      .


Date:          04/15/2021                                                                   /s/ Nathan Lewin
                                                                                            Attorney’s signature


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